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 8                                          UNITED STATES DISTRICT COURT
 9                                       CENTRAL DISTRICT OF CALIFORNIA
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                                                )
11    Warner Bros. Home Entertainment Inc., )                                  Case No.: CV13-0889 DMG (DTBx)
                                                )
12                           Plaintiff,         )                              ORDER GRANTING PLAINTIFF’S
                                                )                              REQUEST FOR AN
13          v.                                  )                              ENLARGEMENT OF TIME
                                                )                              WITHIN WHICH TO EFFECT
14    Amazon.com Sellers fastmedia; SECRET )                                   SERVICE OF PROCESS
      SALE..; dealmakerz; ALLSEASONS;           )                              PURSUANT TO RULE 6(b) [11]
15    Forlines Warehouse; B&Wc; Cape            )
      Breton, and Does 1 through 10, inclusive, )
16                                              )
                             Defendants.        )
17

18
                The Court has read and considered all papers filed in connection with the Ex
19
      Parte Request for Enlargement of Time Within Which to Effect Service of Process
20
      Pursuant to Rule 6(b) (“the Application”) filed by Plaintiff Warner Bros. Home
21
      Entertainment Inc. (“Plaintiff”).
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      ///
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      Warner Bros. v. Amazon.com Sellers fastmedia, et al.: [Proposed]   -1-
      Order Granting Ex Parte Request for Enlargement of Time
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 1
                IT IS HEREBY ORDERED that the Application is granted and Plaintiff shall
 2
      have a ninety (90) day enlargement of time within which to serve Defendant with
 3
      Summons and Complaint, and in no event later than September 23, 2013.
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 6
      Dated: June 20, 2013

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                                                                               ________________________________
                                                                               DOLLY M. GEE
 9                                                                             UNITED STATES DISTRICT JUDGE

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      Warner Bros. v. Amazon.com Sellers fastmedia, et al.: [Proposed]   -2-
      Order Granting Ex Parte Request for Enlargement of Time
